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                                       COMMONWEALTH OF KENTUCKY




                                                                                                           2E09FF66-B965-4C42-813E-8A6CD97B013D : 000001 of 000038
                                          FAYETTE CIRCUIT COURT
                                                DIVISION NO. 9
                                         CIVIL ACTION NO. 20-CI-00248
                                               Electronically Filed

         MGG INVESTMENT GROUP LP                                                           PLAINTIFF

         v.

         ZAYAT STABLES, LLC; and AHMED                                                 DEFENDANTS
         ZAYAT


        ______________________________________________________________________________

               RECEIVER’S MOTION FOR ORDER CERTIFYING THE RECEIVER’S
                       PAYMENT TO JORGE NAVARRO RACING STABLE
        ______________________________________________________________________________


                                                      NOTICE

                 The parties hereto will take notice that the following Receiver’s Motion for Order

        Certifying the Receiver’s Payment to Jorge Navarro Racing Stable will be heard by the Court at

        its regularly scheduled motion hour on July 24, 2020 at 8:30 a.m., or as soon thereafter as the

        parties can be heard, at the Fayette Circuit Court, Robert F. Stephens Circuit Courthouse, 120

        North Limestone, Lexington, Kentucky.

                                                    MOTION

                 Elizabeth Z. Woodward, CPA, CFF, CFE of Dean Dorton Allen Ford, PLLC, and solely in

        her capacity as the Court-appointed receiver (the “Receiver”) for Zayat Stables, LLC (“Zayat

        Stables”), by and through counsel, hereby submits her Motion for Order Certifying the Receiver’s
                                                                                                           NTIM : 000001 of 000009



        Payment         to     Jorge        Navarro      Racing       Stable       (the       “Motion”).




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                       PROCEDURAL BACKGROUND AND FACTUAL SUPPORT




                                                                                                                2E09FF66-B965-4C42-813E-8A6CD97B013D : 000002 of 000038
                  1.   On January 21, 2020, MGG Investment Group LP (“MGG”) filed a Complaint in

        the Commonwealth of Kentucky, Fayette Circuit Court against the Defendants, Zayat Stables, LLC

        and Ahmed Zayat (collectively, the “Original Defendants”) for breach of contract, fraud,

        appointment of a receiver, and attorneys’ fees and costs.

                  2.   On January 22, 2020, MGG filed its Emergency Motion for Appointment of a

        Receiver.

                  3.   The Receiver was appointed pursuant to this Court’s January 22, 2020 Order (the

        “Order”) and she retained the undersigned as her counsel on January 24, 2020.

                  4.   The Order appoints the Receiver “to take charge of, operate, preserve, maintain and

        care for all of the assets of the Defendant, Zayat Stables… including, but not limited to all horses,

        breeding rights, files, papers … and all other property, real or personal…” (the “Property”). Order

        at ¶ 1.

                  5.   The Order entitles the Receiver to “immediate and exclusive possession, custody

        and control” of the Property. Order at ¶ 2.

                  6.   The Receiver may, in its discretion “terminate such agents, managers, employees,

        trainers….as may in its judgment be advisable or necessary…”. Order at ¶ 5K.

                  7.   All persons notified of the Order “are hereby enjoined and restrained from

        interfering in any way with the Receiver’s performance of its duties and responsibilities hereunder,

        and from prosecuting any actions which affect the Property.” Order at ¶ 11.

                  8.   On January 24, 2020, the Receiver sent correspondence to all known parties who
                                                                                                                NTIM : 000002 of 000009




        may have been working with or for Zayat Stables, including Jorge Navarro Racing Stable

        (“Navarro Stable”), through the principal of Jorge Navarro (“Navarro”). This correspondence



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        included a copy of the Order and placed Navarro on notice of the Receiver’s immediate and




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        exclusive possession, custody and control of all assets of Zayat Stables. See Exhibit 1.

               9.      On March 9, 2020, an order modifying the Order and further detailing the rights

        and duties of the Receiver was entered by this Court (the “Modified Order”).

               10.     The Modified Order provides that the Receiver shall, upon sale or other agreement,

        allow for payment from net proceeds “from the specific asset to be sold” and “as required by lien

        statute…”. Modified Order at ¶ E.

               11.     Further, “to the extent related parties claim competing or conflicting liens, the

        Receiver is not charged with determining validity priority, or payment of and for these liens, rather,

        disputes shall be resolved by this Court.” Modified Order at ¶ E.

               12.     In the months following her appointment, and up to this point, the Receiver has

        successfully executed payments to valid agister and stableman lien claimants by: (i) reconciling

        the accounts of the claimant and the accounts of Zayat Stables; (ii) applying applicable state

        statutory priority to calculate the proper distribution from sale proceeds; and (iii) to the extent the

        value of the sale supports the full lien claim, issuing payment to the claimants (the “Agister

        Distribution”). This process has been utilized successfully in the sale of twelve (12) horses to date.

               13.     After her appointment, the Receiver, both individually and through her agent

        Gatewood Bell, communicated with Navarro on several occasions. The relevant communications

        were primarily regarding the training, care, and racing for and of horses in Navarro’s possession

        at the time of her appointment: PAYNTED, MONY, and PERLMAN (together, the “Zayat

        Horses”).
                                                                                                                  NTIM : 000003 of 000009




               14.     On March 6, 2020, the Receiver received correspondence from Navarro through

        counsel, asserting amounts owed on the Zayat Horses.



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               15.     On March 9, 2020, an FBI raid occurred, leading to the arrest of Jorge Navarro in




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        connection with alleged unlawful drugging of horses.

               16.     Immediately thereafter, the Receiver directed her counsel and consultant to assess

        the condition of the Zayat Horses and if necessary, effectuate the removal of the Zayat Horses

        from Navarro’s care and possession.

               17.     On March 19, 2020, Navarro, through counsel, communicated his intent to sell the

        Zayat Horses (the “Claim Notice”), as a means of paying amounts it asserted was due to it in direct

        violation of this Court’s Order received months prior. See the Claim Notice attached hereto as

        Exhibit 2.

               18.     Contemporaneously with sending its Claim Notice, Navarro transported the Zayat

        Horses to an undisclosed location, without notice or permission from the Receiver, and in direct

        violation of the Order on or around March 19, 2020. Though copies of this Court’s Orders, which

        grants the Receiver “exclusive possession and control” of the Zayat Horses had been provided to

        him, counsel for Navarro refused to disclose their location until the bills asserted due by Navarro

        were paid.

               19.     Upon information and belief, Navarro’s estimated bills at this time were

        $51,903.00.

               20.     The Receiver disputed the Navarro claim, stating that it included costs which are

        not covered by the Florida lien statute.

               21.     Escalating the conflict, on April 7, 2020, Navarro then scheduled a public sale for

        April 17, 2020 (the “Sale Date Notice”).
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               22.     Though it was unclear how Navarro could hold a commercially reasonable public

        sale as required by Florida statute at a time in which the state was closed for commerce by



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        executive order and the horses themselves were secreted away to an unknown location, the




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        Receiver took immediate steps to stop the proposed sale.

                   23.      Accordingly, on April 14, 2020, the Receiver applied for and posted a bond with

        the Clerk of the Fifth Judicial Circuit for Marion County, Florida, for $51,903.00, the full amount

        asserted by Navarro (the “Bond”).

                   24.      On April 16, 2020, the Receiver obtained physical possession of the Zayat Horses.

        The Zayat Horses were transferred to the care of a trusted trainer, transported to Kentucky and on

        Monday, July 13, 2020, were sold at Fasig-Tipton.1

                   25.      Navarro continues to assert a claim against the full amount of the Bond. Despite

        Navarro’s actions, the Receiver agrees that she is required to pay Navarro for the care provided

        for the Zayat Horses. She does, however, calculate the amount owed to Navarro as less than the

        full amount of the Bond.

                   26.      The Receiver has calculated the payment to Navarro under the laws of Florida to

        be $37,603.00 (the “Agister Expenses”) See Fla. Stat. Ann. 713.65, (providing a possessory lien

        for “all persons feeding or caring for the horse… including all keeper of livery, sale or feed or feed

        stables, for feeding or taking care of any horse or other animal put in their charge…”). Florida

        follows the majority rule in the United States, omitting training as an allowable priority agister

        expense. The Receiver’s calculations to reach the Agister Expense are detailed in Exhibit 3,

        attached hereto and incorporated by reference.

                   27.      Navarro claims that the amount due for which Navarro has liens totals $51,903.00,

        and additionally claims $32,249.50 for other Zayat horses that are no longer in Navarro’s
                                                                                                                         NTIM : 000005 of 000009




        possession (“Navarro’s Unsecured Claim”).



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            Information regarding the sale of the Zayat Horses will be included in the Receiver’s next monthly report.

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               28.     The Receiver’s understanding of Navarro’s calculations are detailed in Exhibit 4,




                                                                                                               2E09FF66-B965-4C42-813E-8A6CD97B013D : 000006 of 000038
        attached hereto and incorporated by reference (“Navarro Calculations”). These bills contain

        training expenses, veterinarian expenses, pre-Receivership unsecured expenses (for which the

        Receiver is not liable), in addition to the Agister Expenses which the Receiver intends to pay.

               29.     The Receiver’s audit of the invoices show that the Navarro Calculations include

        training expenses of which are not considered Agister Expenses pursuant to statute. In large part,

        the Navarro calculations include pre-receivership training expenses. See Exhibit 4, “Pre-1/22

        Charges Not Covered by Lien.”

               30.     Pursuant to the Modified Order (supra, ¶ 11), the Receiver requests this Court

        certify her payment of the Agister Expenses which number was reached by:

                                Verifying the possession of each horse;

                                Reviewing expenses, itemized by horse; and,

                                Totaling the care, feed, grazing, and boarding as itemized in the Florida
                                 statute.

               31.        The Receiver plans to pay the Agister Expenses now that the Zayat Horses were

        sold, to the extent the sale proceeds allow for full payment, after the expenses related to the sale

        have been paid.

               32.     The Receiver submits that the following expenses should not be payable under the

        applicable lien statute as expenses:

                                Expenses incurred pre-Receivership on horses no longer in the claimant’s
                                 possession;

                                 Expenses incurred that were reduced by agreement;
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                                Pre-Receivership training expenses;




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                                  Expenses incurred in conjunction with the unauthorized transport of the




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                                   Zayat Horses to an undisclosed location and ensuing care;2 and,

                                  Purse proceeds for pre-Receivership races.

        Several of these expenses are asserted by Navarro and should not be paid.

                33.      In light of her efforts and the Modified Order’s instruction, the Receiver

        respectfully requests the Court certify her calculation based on a plain reading of the statute to pay

        Navarro as detailed herein.

                         WHEREFORE, for any and all of the foregoing reasons, the Receiver respectfully

        requests the Court:

                         A. Grant the Receiver’s Motion For Order Certifying The Receiver’s

                              Payment To Jorge Navarro Racing Stable as proposed herein;

                         B. Grant relief to the Receiver from any obligation to Navarro to pay amounts in

                         excess of the Agister Expenses, including expenses incurred in connection with the

                         unauthorized transport of the Zayat Horses; and

                         C. Grant any and all other relief to which the Receiver may be entitled.

                                                                    Respectfully submitted,

                                                                    DINSMORE & SHOHL LLP

                                                                    /s/ Ellen Arvin Kennedy
                                                                    Ellen Arvin Kennedy (KY Bar No. 88347)
                                                                    Sara A. Johnston (KY Bar No. 96769)
                                                                    100 West Main Street, Suite 900
                                                                    Lexington, KY 40507
                                                                    Telephone: (859) 425-1000
                                                                    Facsimile: (859) 425-1099
                                                                    Email: ellen.kennedy@dinsmore.com
                                                                                                                            NTIM : 000007 of 000009




                                                                             sara.johnston@dinsmore.com
                                                                    COUNSEL FOR RECEIVER, ELIZABETH Z.
                                                                    WOODWARD

        2
         Such expenses were not included in Navarro’s invoices, however, if these expenses are later claimed as owed, the
        Receiver does not believe there is an obligation to pay them.

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                                         CERTIFICATE OF SERVICE




                                                                                                                2E09FF66-B965-4C42-813E-8A6CD97B013D : 000008 of 000038
                This is to certify that a true and accurate copy of the foregoing was served on the following
        on the 21st day of July, 2020 and by U.S. Mail or electronic correspondence as soon thereafter as
        practicable:


         Jorge Navarro Racing Stable
         c/o Bradford J. Beilly
         Beilly & Strohsahl, P.A.
         1144 SE 3rd Ave.
         Fort Lauderdale, FL 33316

         W. Craig Robertson III, Esq.                           Jay E. Ingle, Esq.
         Daniel E. Hitchcock, Esq.                              Alexander H. Gardner, Esq.
         Thomas E. Travis, Esq.                                 Jackson Kelly, PLLC
         Wyatt, Tarrant & Combs, LLP                            100 West Main Street, Suite 700
         250 W. Main Street, Suite 1600                         Lexington, Kentucky 40507
         Lexington, KY 40507                                    jingle@jacksonkelly.com
         wrobertson@wyattfirm.com                               alexander.garnder@jacksonkelly.com
         dhitchcock@wyattfirm.com
         ttravis@wyattfirm.com

         Joseph M. Vann, Esq.                                   Thomas D. Bullock
         Cohen Tauben Spievak & Wagner, P.C.                    J. Ross Stinetorf
         420 Lexington Avenue, Suite 2400                       234 North Limestone
         New York, New York 10170                               Lexington, KY 40507
         jvann@ctswlaw.com                                      Counsel for Mull Enterprises LTD d/b/a
         ltauben@ctswlaw.com                                    Yeomanstown Stud

         W. Chapman Hopkins                                     Marshall Hixson
         Andrew J. Donovan                                      Gregory Paul Parsons
         Stoll Keenon Ogden PLLC                                Stites & Harbison
         300 W. Vine Street, Suite 2100                         250 West Main Street, Suite 2300
         Lexington, Kentucky 40507-1801                         Lexington, Kentucky 40507
         Counsel for LNJ Foxwoods, LLC                          Counsel for McMahon of Saratoga
                                                                Thoroughbreds, LLC

         Barry D. Hunter                                        FLINTSHIRE FARM, LLC
         Medrith Lee Norman                                     Thomas B. Spears, Registered Agent
         Frost Brown Todd LLC                                   1201 Bering Drive, Apartment 97
                                                                                                                NTIM : 000008 of 000009




         250 West Main Street, Suite 2800                       Houston, Texas 77057
         Lexington, Kentucky 40507
         Counsel for Bemak, N.V. Ltd. Co. d/b/a
         Ashford Stud and Orpendale Unlimited Co.
         d/b/a Coolmore Stud

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                                                       John C. Roach




                                                                                                   2E09FF66-B965-4C42-813E-8A6CD97B013D : 000009 of 000038
        Thomas B. Sears a/k/a Brad Sears               David Royse
        1201 Bering Drive, Apartment 97                Ransdell Roach & Royse, PLLC
        Houston, Texas 77057                           176 Pasadena Drive, Building 1
                                                       Lexington, Kentucky 40503
                                                       Counsel for Hill ‘N’ Dale Equine Holdings




                                                      /s/ Ellen Arvin Kennedy
                                                     COUNSEL FOR RECEIVER, ELIZABETH Z.
                                                     WOODWARD




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                                          EXHIBIT 1                         Legal Counsel.

Dinsmore                                                                     DINSMORE & SHOHL LIP
                                                                             City Center A 100 West Main Street A Suite 900




                                                                                                                              2E09FF66-B965-4C42-813E-8A6CD97B013D : 000010 of 000038
                                                                             Lexington, KY 40507
                                                                             www.dinsmore.com


                                                                             Ellen Arvin Kennedy
                                                                            (859)425-1020 (direct) A (859)425-1099 (fax)
                                                                            ellen.kennedy@dinsmore.com




                                                   January 24, 2020
        VIA CERTIFIED MAIL

        Jorge Navarro Racing Stable
        Gulfstream Park West
        21001 NW 27th Ave
        Miami Gardens, FL 33056

                RE:    Notice of Appointment ofReceiver for Zayat Stables, LLC

        Dear To Whom It May Concern:

                Please find enclosed an order appointing Elizabeth Z. Woodward as Receiver (the
        "Receiver") for Zayat Stables, LLC in the case styled, MGG Investment Group LP v. Zayat
        Stables, LLC and Ahmed Zayat, Case No. 20-CI-00248, currently pending in the Commonwealth
        of Kentucky, Fayette Circuit Court. This letter serves as notice of the Receiver's immediate and
        exclusive possession, custody and control of all assets of Zayat Stables, LLC ("Zayat Stables"),
        which includes but is not limited to, all cash proceeds, accounts receivable, horses, breeding
        rights, files, papers, records, documents, insurance policies, securities, bank accounts, books of
        account, and all other property, real or personal, of Zayat Stables (the "Property").

               Be advised that no one other than the Receiver is authorized to incur any liability for, or
        otherwise act on behalf of Zayat Stables. Please contact me if you hold any funds for Zayat
        Stables. If you are currently in the process of disbursing funds to Zayat Stables, you must issue a
        stop payment immediately and turn over those monies to the Receiver instead.

                If you have any questions please do not hesitate to contact me.

                                                   Sincerely,



                                                   Ellen Arvin Kennedy
                                                                                                                              EXH : 000001 of 000007




        EAK:rp
        Enclosure

        cc: Elizabeth Z. Woodward via email




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                                                    EXHIBIT 2




From:                            brad@beillylaw.com




                                                                                                           2E09FF66-B965-4C42-813E-8A6CD97B013D : 000017 of 000038
Sent:                            Thursday, March 19, 2020 3:01 PM
To:                              Kennedy, Ellen Arvin
Subject:                         Foreclosure of Trainer's Liens on Zayat Stable's Horses



Ellen,

Pursuant to Florida Statutes 713.65 (lien), 85.031 (method of sale) and 679.310 (priority), Mr. Navarro
intends to foreclose his statutory possessory liens on the three Zayat Stable, LLC horses with a sale
date on or before April 17, 2020.

Pursuant to Fla.Stat. 85.031, the method of sale is a public sale which will take place where the horses
are located.

Pursuant to Fla. Stat. 679.310, the lien has priority over the security interest (if any) of the Lender.

As the lien is based upon possession of the horses, the horses will not be turned over to the receiver.
The horses are being fed and well cared for at my client's expense.
If we can agree that the receiver will not attempt to take possession of the horses from where they are
located, we can arrange for the hoses to be vetted or examined by anyone that the receiver
designates.

I am trying to insure that there is no breach of the peace in connection with the resolution of this
matter.

Please let me know how the receiver wishes to proceed.

Brad
Bradford J. Beilly
Beilly & Strohsahl, P.A,
1144 SE 3rd Ave
Fort Lauderdale, Fl 33316
954-763-7000
brad@beillylaw.com
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                                                 EXHIBIT 3




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                                         Receiver Calculation
           Valentino Equine        Mony           Paynted             Perlman               Total
        Pre-1/22 Charges with      580.00          1,891.00             1,463.00           3,934.00
             Lien Priority
          Post-1/22 Charges         40.00             -                     -               40.00
           due per Receiver
                Total              620.00          1,891.00             1,463.00           3,974.00

              JN Stables
        Pre-1/22 Charges with      3,085.65        7,039.03             6,125.00          16,249.68
             Lien Priority
          Post-1/22 Charges        5,619.35        5,893.97             5,866.00          17,379.32
           due per Receiver
                Total              8,705.00       12,933.00            11,991.00          33,629.00

           Total Charges Due       9,325.00       14,824.00            13,454.00          37,603.00
          (With Lien Priority)




                                                                                                      EXH : 000001 of 000001




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                                                             EXHIBIT 4
                                                     Navarro Calculation
                                                Mony          Paynted           Perlman              Total
              Total Charges Due             9,325.00          14,824.00          13,454.00          37,603.00
             (With Lien Priority)1

             J. Navarro Stables
            Pre-1/22 Charges Not            2,810.00           6,160.00           5,060.00          14,030.00
               Covered by Lien

               Discrepancy on                                  300.00                                300.00
            February 2020 invoice
            Unknown Adjustment                                                                       (30.00)

            Total Amount Claimed            12,135.00         21,284.00          18,514.00          51,903.00
                  by Navarro




                                                                                                                EXH : 000001 of 000001




        1
            Calculation totals from Exhibit 2


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                                       COMMONWEALTH OF KENTUCKY




                                                                                                           2E09FF66-B965-4C42-813E-8A6CD97B013D : 000020 of 000038
                                          FAYETTE CIRCUIT COURT
                                                DIVISION NO. 9
                                         CIVIL ACTION NO. 20-CI-00248
                                               Electronically Filed

         MGG INVESTMENT GROUP LP                                                           PLAINTIFF

         v.

         ZAYAT STABLES, LLC; and AHMED                                                 DEFENDANTS
         ZAYAT


        ______________________________________________________________________________

               RECEIVER’S MOTION FOR ORDER CERTIFYING THE RECEIVER’S
                       PAYMENT TO JORGE NAVARRO RACING STABLE
        ______________________________________________________________________________


                                                      NOTICE

               The parties hereto will take notice that the following Receiver’s Motion for Order

        Certifying the Receiver’s Payment to Jorge Navarro Racing Stable will be heard by the Court at

        its regularly scheduled motion hour on July 24, 2020 at 8:30 a.m., or as soon thereafter as the

        parties can be heard, at the Fayette Circuit Court, Robert F. Stephens Circuit Courthouse, 120

        North Limestone, Lexington, Kentucky.

                                                    MOTION

               Elizabeth Z. Woodward, CPA, CFF, CFE of Dean Dorton Allen Ford, PLLC, and solely in

        her capacity as the Court-appointed receiver (the “Receiver”) for Zayat Stables, LLC (“Zayat

        Stables”), by and through counsel, hereby submits her Motion for Order Certifying the Receiver’s
                                                                                                           NTIM : 000001 of 000009



        Payment       to       Jorge        Navarro      Racing       Stable       (the       “Motion”).




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                       PROCEDURAL BACKGROUND AND FACTUAL SUPPORT




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                  1.   On January 21, 2020, MGG Investment Group LP (“MGG”) filed a Complaint in

        the Commonwealth of Kentucky, Fayette Circuit Court against the Defendants, Zayat Stables, LLC

        and Ahmed Zayat (collectively, the “Original Defendants”) for breach of contract, fraud,

        appointment of a receiver, and attorneys’ fees and costs.

                  2.   On January 22, 2020, MGG filed its Emergency Motion for Appointment of a

        Receiver.

                  3.   The Receiver was appointed pursuant to this Court’s January 22, 2020 Order (the

        “Order”) and she retained the undersigned as her counsel on January 24, 2020.

                  4.   The Order appoints the Receiver “to take charge of, operate, preserve, maintain and

        care for all of the assets of the Defendant, Zayat Stables… including, but not limited to all horses,

        breeding rights, files, papers … and all other property, real or personal…” (the “Property”). Order

        at ¶ 1.

                  5.   The Order entitles the Receiver to “immediate and exclusive possession, custody

        and control” of the Property. Order at ¶ 2.

                  6.   The Receiver may, in its discretion “terminate such agents, managers, employees,

        trainers….as may in its judgment be advisable or necessary…”. Order at ¶ 5K.

                  7.   All persons notified of the Order “are hereby enjoined and restrained from

        interfering in any way with the Receiver’s performance of its duties and responsibilities hereunder,

        and from prosecuting any actions which affect the Property.” Order at ¶ 11.

                  8.   On January 24, 2020, the Receiver sent correspondence to all known parties who
                                                                                                                NTIM : 000002 of 000009




        may have been working with or for Zayat Stables, including Jorge Navarro Racing Stable

        (“Navarro Stable”), through the principal of Jorge Navarro (“Navarro”). This correspondence



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        included a copy of the Order and placed Navarro on notice of the Receiver’s immediate and




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        exclusive possession, custody and control of all assets of Zayat Stables. See Exhibit 1.

               9.      On March 9, 2020, an order modifying the Order and further detailing the rights

        and duties of the Receiver was entered by this Court (the “Modified Order”).

               10.     The Modified Order provides that the Receiver shall, upon sale or other agreement,

        allow for payment from net proceeds “from the specific asset to be sold” and “as required by lien

        statute…”. Modified Order at ¶ E.

               11.     Further, “to the extent related parties claim competing or conflicting liens, the

        Receiver is not charged with determining validity priority, or payment of and for these liens, rather,

        disputes shall be resolved by this Court.” Modified Order at ¶ E.

               12.     In the months following her appointment, and up to this point, the Receiver has

        successfully executed payments to valid agister and stableman lien claimants by: (i) reconciling

        the accounts of the claimant and the accounts of Zayat Stables; (ii) applying applicable state

        statutory priority to calculate the proper distribution from sale proceeds; and (iii) to the extent the

        value of the sale supports the full lien claim, issuing payment to the claimants (the “Agister

        Distribution”). This process has been utilized successfully in the sale of twelve (12) horses to date.

               13.     After her appointment, the Receiver, both individually and through her agent

        Gatewood Bell, communicated with Navarro on several occasions. The relevant communications

        were primarily regarding the training, care, and racing for and of horses in Navarro’s possession

        at the time of her appointment: PAYNTED, MONY, and PERLMAN (together, the “Zayat

        Horses”).
                                                                                                                  NTIM : 000003 of 000009




               14.     On March 6, 2020, the Receiver received correspondence from Navarro through

        counsel, asserting amounts owed on the Zayat Horses.



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               15.     On March 9, 2020, an FBI raid occurred, leading to the arrest of Jorge Navarro in




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        connection with alleged unlawful drugging of horses.

               16.     Immediately thereafter, the Receiver directed her counsel and consultant to assess

        the condition of the Zayat Horses and if necessary, effectuate the removal of the Zayat Horses

        from Navarro’s care and possession.

               17.     On March 19, 2020, Navarro, through counsel, communicated his intent to sell the

        Zayat Horses (the “Claim Notice”), as a means of paying amounts it asserted was due to it in direct

        violation of this Court’s Order received months prior. See the Claim Notice attached hereto as

        Exhibit 2.

               18.     Contemporaneously with sending its Claim Notice, Navarro transported the Zayat

        Horses to an undisclosed location, without notice or permission from the Receiver, and in direct

        violation of the Order on or around March 19, 2020. Though copies of this Court’s Orders, which

        grants the Receiver “exclusive possession and control” of the Zayat Horses had been provided to

        him, counsel for Navarro refused to disclose their location until the bills asserted due by Navarro

        were paid.

               19.     Upon information and belief, Navarro’s estimated bills at this time were

        $51,903.00.

               20.     The Receiver disputed the Navarro claim, stating that it included costs which are

        not covered by the Florida lien statute.

               21.     Escalating the conflict, on April 7, 2020, Navarro then scheduled a public sale for

        April 17, 2020 (the “Sale Date Notice”).
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               22.     Though it was unclear how Navarro could hold a commercially reasonable public

        sale as required by Florida statute at a time in which the state was closed for commerce by



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        executive order and the horses themselves were secreted away to an unknown location, the




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        Receiver took immediate steps to stop the proposed sale.

                   23.      Accordingly, on April 14, 2020, the Receiver applied for and posted a bond with

        the Clerk of the Fifth Judicial Circuit for Marion County, Florida, for $51,903.00, the full amount

        asserted by Navarro (the “Bond”).

                   24.      On April 16, 2020, the Receiver obtained physical possession of the Zayat Horses.

        The Zayat Horses were transferred to the care of a trusted trainer, transported to Kentucky and on

        Monday, July 13, 2020, were sold at Fasig-Tipton.1

                   25.      Navarro continues to assert a claim against the full amount of the Bond. Despite

        Navarro’s actions, the Receiver agrees that she is required to pay Navarro for the care provided

        for the Zayat Horses. She does, however, calculate the amount owed to Navarro as less than the

        full amount of the Bond.

                   26.      The Receiver has calculated the payment to Navarro under the laws of Florida to

        be $37,603.00 (the “Agister Expenses”) See Fla. Stat. Ann. 713.65, (providing a possessory lien

        for “all persons feeding or caring for the horse… including all keeper of livery, sale or feed or feed

        stables, for feeding or taking care of any horse or other animal put in their charge…”). Florida

        follows the majority rule in the United States, omitting training as an allowable priority agister

        expense. The Receiver’s calculations to reach the Agister Expense are detailed in Exhibit 3,

        attached hereto and incorporated by reference.

                   27.      Navarro claims that the amount due for which Navarro has liens totals $51,903.00,

        and additionally claims $32,249.50 for other Zayat horses that are no longer in Navarro’s
                                                                                                                         NTIM : 000005 of 000009




        possession (“Navarro’s Unsecured Claim”).



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            Information regarding the sale of the Zayat Horses will be included in the Receiver’s next monthly report.

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               28.     The Receiver’s understanding of Navarro’s calculations are detailed in Exhibit 4,




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        attached hereto and incorporated by reference (“Navarro Calculations”). These bills contain

        training expenses, veterinarian expenses, pre-Receivership unsecured expenses (for which the

        Receiver is not liable), in addition to the Agister Expenses which the Receiver intends to pay.

               29.     The Receiver’s audit of the invoices show that the Navarro Calculations include

        training expenses of which are not considered Agister Expenses pursuant to statute. In large part,

        the Navarro calculations include pre-receivership training expenses. See Exhibit 4, “Pre-1/22

        Charges Not Covered by Lien.”

               30.     Pursuant to the Modified Order (supra, ¶ 11), the Receiver requests this Court

        certify her payment of the Agister Expenses which number was reached by:

                                Verifying the possession of each horse;

                                Reviewing expenses, itemized by horse; and,

                                Totaling the care, feed, grazing, and boarding as itemized in the Florida
                                 statute.

               31.        The Receiver plans to pay the Agister Expenses now that the Zayat Horses were

        sold, to the extent the sale proceeds allow for full payment, after the expenses related to the sale

        have been paid.

               32.     The Receiver submits that the following expenses should not be payable under the

        applicable lien statute as expenses:

                                Expenses incurred pre-Receivership on horses no longer in the claimant’s
                                 possession;

                                 Expenses incurred that were reduced by agreement;
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                                Pre-Receivership training expenses;




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                                  Expenses incurred in conjunction with the unauthorized transport of the




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                                   Zayat Horses to an undisclosed location and ensuing care;2 and,

                                  Purse proceeds for pre-Receivership races.

        Several of these expenses are asserted by Navarro and should not be paid.

                33.      In light of her efforts and the Modified Order’s instruction, the Receiver

        respectfully requests the Court certify her calculation based on a plain reading of the statute to pay

        Navarro as detailed herein.

                         WHEREFORE, for any and all of the foregoing reasons, the Receiver respectfully

        requests the Court:

                         A. Grant the Receiver’s Motion For Order Certifying The Receiver’s

                              Payment To Jorge Navarro Racing Stable as proposed herein;

                         B. Grant relief to the Receiver from any obligation to Navarro to pay amounts in

                         excess of the Agister Expenses, including expenses incurred in connection with the

                         unauthorized transport of the Zayat Horses; and

                         C. Grant any and all other relief to which the Receiver may be entitled.

                                                                    Respectfully submitted,

                                                                    DINSMORE & SHOHL LLP

                                                                    /s/ Ellen Arvin Kennedy
                                                                    Ellen Arvin Kennedy (KY Bar No. 88347)
                                                                    Sara A. Johnston (KY Bar No. 96769)
                                                                    100 West Main Street, Suite 900
                                                                    Lexington, KY 40507
                                                                    Telephone: (859) 425-1000
                                                                    Facsimile: (859) 425-1099
                                                                    Email: ellen.kennedy@dinsmore.com
                                                                                                                            NTIM : 000007 of 000009




                                                                             sara.johnston@dinsmore.com
                                                                    COUNSEL FOR RECEIVER, ELIZABETH Z.
                                                                    WOODWARD

        2
         Such expenses were not included in Navarro’s invoices, however, if these expenses are later claimed as owed, the
        Receiver does not believe there is an obligation to pay them.

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                                         CERTIFICATE OF SERVICE




                                                                                                                2E09FF66-B965-4C42-813E-8A6CD97B013D : 000027 of 000038
                This is to certify that a true and accurate copy of the foregoing was served on the following
        on the 21st day of July, 2020 and by U.S. Mail or electronic correspondence as soon thereafter as
        practicable:


         Jorge Navarro Racing Stable
         c/o Bradford J. Beilly
         Beilly & Strohsahl, P.A.
         1144 SE 3rd Ave.
         Fort Lauderdale, FL 33316

         W. Craig Robertson III, Esq.                           Jay E. Ingle, Esq.
         Daniel E. Hitchcock, Esq.                              Alexander H. Gardner, Esq.
         Thomas E. Travis, Esq.                                 Jackson Kelly, PLLC
         Wyatt, Tarrant & Combs, LLP                            100 West Main Street, Suite 700
         250 W. Main Street, Suite 1600                         Lexington, Kentucky 40507
         Lexington, KY 40507                                    jingle@jacksonkelly.com
         wrobertson@wyattfirm.com                               alexander.garnder@jacksonkelly.com
         dhitchcock@wyattfirm.com
         ttravis@wyattfirm.com

         Joseph M. Vann, Esq.                                   Thomas D. Bullock
         Cohen Tauben Spievak & Wagner, P.C.                    J. Ross Stinetorf
         420 Lexington Avenue, Suite 2400                       234 North Limestone
         New York, New York 10170                               Lexington, KY 40507
         jvann@ctswlaw.com                                      Counsel for Mull Enterprises LTD d/b/a
         ltauben@ctswlaw.com                                    Yeomanstown Stud

         W. Chapman Hopkins                                     Marshall Hixson
         Andrew J. Donovan                                      Gregory Paul Parsons
         Stoll Keenon Ogden PLLC                                Stites & Harbison
         300 W. Vine Street, Suite 2100                         250 West Main Street, Suite 2300
         Lexington, Kentucky 40507-1801                         Lexington, Kentucky 40507
         Counsel for LNJ Foxwoods, LLC                          Counsel for McMahon of Saratoga
                                                                Thoroughbreds, LLC

         Barry D. Hunter                                        FLINTSHIRE FARM, LLC
         Medrith Lee Norman                                     Thomas B. Spears, Registered Agent
         Frost Brown Todd LLC                                   1201 Bering Drive, Apartment 97
                                                                                                                NTIM : 000008 of 000009




         250 West Main Street, Suite 2800                       Houston, Texas 77057
         Lexington, Kentucky 40507
         Counsel for Bemak, N.V. Ltd. Co. d/b/a
         Ashford Stud and Orpendale Unlimited Co.
         d/b/a Coolmore Stud

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                                                      John C. Roach




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        Thomas B. Sears a/k/a Brad Sears              David Royse
        1201 Bering Drive, Apartment 97               Ransdell Roach & Royse, PLLC
        Houston, Texas 77057                          176 Pasadena Drive, Building 1
                                                      Lexington, Kentucky 40503
                                                      Counsel for Hill ‘N’ Dale Equine Holdings




                                                     /s/ Ellen Arvin Kennedy
                                                    COUNSEL FOR RECEIVER, ELIZABETH Z.
                                                    WOODWARD




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                                          EXHIBIT 1                         Legal Counsel.

Dinsmore                                                                     DINSMORE & SHOHL LIP
                                                                             City Center A 100 West Main Street A Suite 900




                                                                                                                              2E09FF66-B965-4C42-813E-8A6CD97B013D : 000029 of 000038
                                                                             Lexington, KY 40507
                                                                             www.dinsmore.com


                                                                             Ellen Arvin Kennedy
                                                                            (859)425-1020 (direct) A (859)425-1099 (fax)
                                                                            ellen.kennedy@dinsmore.com




                                                   January 24, 2020
        VIA CERTIFIED MAIL

        Jorge Navarro Racing Stable
        Gulfstream Park West
        21001 NW 27th Ave
        Miami Gardens, FL 33056

                RE:    Notice of Appointment ofReceiver for Zayat Stables, LLC

        Dear To Whom It May Concern:

                Please find enclosed an order appointing Elizabeth Z. Woodward as Receiver (the
        "Receiver") for Zayat Stables, LLC in the case styled, MGG Investment Group LP v. Zayat
        Stables, LLC and Ahmed Zayat, Case No. 20-CI-00248, currently pending in the Commonwealth
        of Kentucky, Fayette Circuit Court. This letter serves as notice of the Receiver's immediate and
        exclusive possession, custody and control of all assets of Zayat Stables, LLC ("Zayat Stables"),
        which includes but is not limited to, all cash proceeds, accounts receivable, horses, breeding
        rights, files, papers, records, documents, insurance policies, securities, bank accounts, books of
        account, and all other property, real or personal, of Zayat Stables (the "Property").

               Be advised that no one other than the Receiver is authorized to incur any liability for, or
        otherwise act on behalf of Zayat Stables. Please contact me if you hold any funds for Zayat
        Stables. If you are currently in the process of disbursing funds to Zayat Stables, you must issue a
        stop payment immediately and turn over those monies to the Receiver instead.

                If you have any questions please do not hesitate to contact me.

                                                   Sincerely,



                                                   Ellen Arvin Kennedy
                                                                                                                              EXH : 000001 of 000007




        EAK:rp
        Enclosure

        cc: Elizabeth Z. Woodward via email




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                                                    EXHIBIT 2




From:                            brad@beillylaw.com




                                                                                                           2E09FF66-B965-4C42-813E-8A6CD97B013D : 000036 of 000038
Sent:                            Thursday, March 19, 2020 3:01 PM
To:                              Kennedy, Ellen Arvin
Subject:                         Foreclosure of Trainer's Liens on Zayat Stable's Horses



Ellen,

Pursuant to Florida Statutes 713.65 (lien), 85.031 (method of sale) and 679.310 (priority), Mr. Navarro
intends to foreclose his statutory possessory liens on the three Zayat Stable, LLC horses with a sale
date on or before April 17, 2020.

Pursuant to Fla.Stat. 85.031, the method of sale is a public sale which will take place where the horses
are located.

Pursuant to Fla. Stat. 679.310, the lien has priority over the security interest (if any) of the Lender.

As the lien is based upon possession of the horses, the horses will not be turned over to the receiver.
The horses are being fed and well cared for at my client's expense.
If we can agree that the receiver will not attempt to take possession of the horses from where they are
located, we can arrange for the hoses to be vetted or examined by anyone that the receiver
designates.

I am trying to insure that there is no breach of the peace in connection with the resolution of this
matter.

Please let me know how the receiver wishes to proceed.

Brad
Bradford J. Beilly
Beilly & Strohsahl, P.A,
1144 SE 3rd Ave
Fort Lauderdale, Fl 33316
954-763-7000
brad@beillylaw.com
                                                                                                           EXH : 000001 of 000001




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 Filed                 20-CI-00248     07/21/2020          1    Vincent Riggs, Fayette Circuit Clerk
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   Case             20-CI-00248
          2:21-cv-09231-MCA-MF  07/21/2020       Vincent
                                  Document 11-10 Filed   Riggs, Fayette
                                                       09/24/20   PageCircuit
                                                                        37 of Clerk
                                                                              40 PageID: 3379




                                                 EXHIBIT 3




                                                                                                      2E09FF66-B965-4C42-813E-8A6CD97B013D : 000037 of 000038
                                         Receiver Calculation
           Valentino Equine        Mony           Paynted             Perlman               Total
        Pre-1/22 Charges with      580.00          1,891.00             1,463.00           3,934.00
             Lien Priority
          Post-1/22 Charges         40.00             -                     -               40.00
           due per Receiver
                Total              620.00          1,891.00             1,463.00           3,974.00

              JN Stables
        Pre-1/22 Charges with      3,085.65        7,039.03             6,125.00          16,249.68
             Lien Priority
          Post-1/22 Charges        5,619.35        5,893.97             5,866.00          17,379.32
           due per Receiver
                Total              8,705.00       12,933.00            11,991.00          33,629.00

           Total Charges Due       9,325.00       14,824.00            13,454.00          37,603.00
          (With Lien Priority)




                                                                                                      EXH : 000001 of 000001




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   Case                20-CI-00248
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                                                          09/24/20   PageCircuit
                                                                           38 of Clerk
                                                                                 40 PageID: 3380




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                                                             EXHIBIT 4
                                                     Navarro Calculation
                                                Mony          Paynted           Perlman              Total
              Total Charges Due             9,325.00          14,824.00          13,454.00          37,603.00
             (With Lien Priority)1

             J. Navarro Stables
            Pre-1/22 Charges Not            2,810.00           6,160.00           5,060.00          14,030.00
               Covered by Lien

               Discrepancy on                                  300.00                                300.00
            February 2020 invoice
            Unknown Adjustment                                                                       (30.00)

            Total Amount Claimed            12,135.00         21,284.00          18,514.00          51,903.00
                  by Navarro




                                                                                                                EXH : 000001 of 000001




        1
            Calculation totals from Exhibit 2


Filed                       20-CI-00248         07/21/2020          Vincent Riggs, Fayette Circuit Clerk
   Case 2:21-cv-09231-MCA-MF Document 11-10 Filed 09/24/20 Page 39 of 40 PageID: 3381


Evans, Beth

From:                              noreply@kycourts.net
Sent:                              Tuesday, July 21, 2020 2:45 PM
To:                                Ingle, Jay; Evans, Beth
Subject:                           NCP FAYETTE 20-CI-00248, MGG INVESTMENT GROUP LP VS. ZAYAT STABLES, LLC, ET
                                   AL Envelope # 2612306

Follow Up Flag:                    Follow up
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EXTERNAL MESSAGE



Notification of Court Processing

The circuit clerk has processed and ACCEPTED the following filing.

Date and Time Processed: July 21, 2020 at 2:43PM Eastern

eFiler: KENNEDY, ELLEN ARVIN (ATTORNEY)

Court: FAYETTE (CIRCUIT )

Case Caption: MGG INVESTMENT GROUP LP VS. ZAYAT STABLES, LLC, ET AL

Case Number: 20-CI-00248

Envelope Number: 2612306

Notice has been electronically mailed to:

Ames, E Kenly - kames@elpolaw.com
Maclin, Robert Edwin - remaclin@mcbrayerfirm.com
Bayer, Bennett Edward - BBayer@LandrumShouse.com
Robertson, Craig - wrobertson@wyattfirm.com
Kennedy, Ellen - Ellen.Kennedy@Dinsmore.com
Bullock, Thomas Dulaney - tbullock@bullockcoffman.com
Parsons, Gregory Paul - gparsons@stites.com
Hixson, Marshall - mhixson@stites.com
Holt, Megan R - megan.holt@rgcmlaw.com
Norman, Medrith - mnorman@fbtlaw.com
Hitchcock, Daniel E. - dhitchcock@wyattfirm.com
Heleringer, Robert Leo - helringr@bellsouth.net
Royse, David T - david@rrrfirm.com
Hopkins, Chapman - Chapman.Hopkins@skofirm.com
Ingle, Jay Edward - jingle@jacksonkelly.com

Scheduled Event:
MOTION HOUR scheduled for 07/24/2020 at 8:30 AM ET in room COURTROOM 6 with HON. KIMBERLY BUNNELL
                                                            1
    Case 2:21-cv-09231-MCA-MF Document 11-10 Filed 09/24/20 Page 40 of 40 PageID: 3382


The following document(s) were included in this eFiling:
MOTION NOT FILED TIMELY
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